Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 1 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 2 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 3 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 4 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 5 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 6 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 7 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 8 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 9 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 10 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 11 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 12 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 13 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 14 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 15 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 16 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 17 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 18 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 19 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 20 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 21 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 22 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 23 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 24 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 25 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 26 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 27 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 28 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 29 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 30 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 31 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 32 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 33 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 34 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 35 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 36 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 37 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 38 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 39 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 40 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 41 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 42 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 43 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 44 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 45 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 46 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 47 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 48 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 49 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 50 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 51 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 52 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 53 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 54 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 55 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 56 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 57 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 58 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 59 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 60 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 61 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 62 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 63 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 64 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 65 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 66 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 67 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 68 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 69 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 70 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 71 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 72 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 73 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 74 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 75 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 76 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 77 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 78 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 79 of 82
Case 16-15388-mkn   Doc 54   Entered 10/24/16 10:15:28   Page 80 of 82
                       Case 16-15388-mkn    Doc 54        Entered 10/24/16 10:15:28    Page 81 of 82

                                             Superior Linen 16-15388-mkn
                                                 Supplemental Matrix
                                               Parties added 10/24/2016

 Alternative Office Systems                AmTrust Insurance Co. of Kansas          Avi Resort & Casino
 Attn: Managing Member                     Attn: Managing Agent                     Attn: Managing Agent
 3930 W. Ali Baba Lane                     11300 Tomahawk Creek Pkwy., Suite 300    10000 Aha Macav Parkway
 Las Vegas, NV 89118                       Leawood, KS 66211                        P.O. Box 77000
                                                                                    Laughlin, NV 89028-7011


 Balboa Capital Corporation                BRE/Pac Nevada, LLC                      BRE/Pac Nevada, LLC
 Attn: Managing Agent                      c/o IndCor Properites                    c/o IndCor Properites
 575 Anton Blvd., 12th Floor               Attn: Lease Administration               Attn: Charles E. Sullivan
 Costa Mesa, CA 92626                      2 N. Riverside Plaza, Ste. 2350          7887 E. Belleview Ave., Ste. 325
                                           Chicago, IL 60606                        Englewood, CO 80111


Bluehorse Corporation                      Bluehorse Corporation                   Buddha dba TAO Nightclub
Attn: Akenaten Bluehorse                   c/o Akenaten Bluehorse                  Attn: Managing Agent
720 Steward #8                             Resident Agent                          3377 Las Vegas Blvd. South
Reno, NV 89502                             212 Hillcrest Dr., #1A                  Las Vegas, NV 89109
                                           Reno, NV 89509


 Codale Electric Supply, Inc.              David Lowden                             El Cortez Hotel & Casino
 Attn: Managing Agent                      3221 S. Torrey Pines                     Attn: General Manager
 3920 W. Sunset Rd., #A                    Las Vegas, NV 89146                      600 East Fremont Street
 Las Vegas, NV 89118                                                                Las Vegas, NV 89101



 El Cortez Hotel & Casino                  Fortuna Partners Two, LLC                FP Holdings, L.P.
 Attn: Joe Woody                           Attn: Phillippe Goyette                  dba The Palms Casino Resort
 600 East Fremont St.                      139 E. Warm Springs Rd.                  Attn: Managing Agent
 Las Vegas, NV 89101                       Las Vegas, NV 89119                      4321 W. Flamingo Rd.
                                                                                    Las Vegas, NV 89178


 G&B Fence                                 Golden Gate Casino, LLC                  HCA Far West Supply Chain Services
 Attn: Managin Agent                       Attn: Susan Hitch, CFO                   Division Director of Contracting
 3748 Archer St.                           1 Fremont Street                         1120 W. Sportsplex Drive
 Las Vegas, NV 89108                       Las Vegas, NV 89101                      Kaysville, UT 84037



 International Fidelity Corp.              Jean Development Company, LLC            Kevin M. Hanratty, Esq.
 Attn: Managing Agent                      Attn: Managing Agent                     Hanratty Law Group
 One Newark Center                         5195 S. Las Vegas blvd.                  1815 Village Center #140
 Newark, NJ 07102-5207                     Las Vegas, NV 89119                      Las Vegas, NV 89134



 LAVO Restaurant & Casino Club             LVGV, LLC                                Mara Hernandez
 Attn: Managing Agent                      dba The M Resort Spa and Casino          c/o Cory J. Hilton, Esq.
 3325 Las Vegas Blvd. S.                   12300 S. Las Vegas Blvd.                 Law Office of Cory J. Hilton
 Las Vegas, NV 89109                       Henderson, NV 89044                      5545 Mountain Vista St., Suite E
                                                                                    Las Vegas, NV 89120-2115


 Martin Harris Construction                Marnell Gaming, LLC                      Mountain View Hospital & Medical Center
 Attn: Managing Agent                      Attn: Mark Bryant                        Attn: Director of Enviornmental Services
 3030 S. Highland Dr.                      2020 S. Casino Dr.                       3100 N. Tenaya Way
 Las Vegas, NV 89109                       Laughlin, NV 89028                       Las Vegas, NV 89128
                      Case 16-15388-mkn     Doc 54       Entered 10/24/16 10:15:28       Page 82 of 82
National Union Fire Insurance Co.          NEDCO IMC                                  New Image Dry Cleaners LLC
of Pittsburg, Pa.                          Attn: Managing Agent                       Attn: Andrew Zimmerman
Attn: Managing Agent                       4200 W. Spring Mtn. Rd.                    Resident Agent
175 Water St., 18th Floor                  Las Vegas, NV 89102                        3644 Emerald Beach Ct.
New York, NY 10038                                                                    Las Vegas, NV 89147


PWD Associates, Inc.                       Red Rock Insulation                        Ohio Security Insurance Company
d/b/a Red Rock Insulation                  Attn: Managing Agent                       Attn: Managing Agent
c/o Marquiz Law Office, Resident Agent     5810 S. Wynn Road                          9450 Seward Rd.
3088 Via Flaminia Ct.                      Las Vegas, NV 89118                        Fairfield, OH 45014
Henderson, NV 89052


Piero's                                    Pioneer Hotel, Inc.                        Plaza Hotel and Casino, LLC
Attn: Managing Agent                       dba Pioneer Hotel & Gamling Hall           dba Plaza
355 Convention Center                      Attn: Margaret Gabaldon                    Attn: Michael Pergolini
Las Vegas, NV 89169                        2200 S. Casino Drive                       One Main Street
                                           Laughlin, NV 89029                         Las Vegas, NV 89101


QTS Custom Payrll & HR Solutions           Railroad Cleaners                          Riverside Resort & Casino, LLC
Attn: Managing Member                      Attn: S. Cunningham, Resident Agent        Attn: Managing Agent
8170 W. Sahara Ave., Ste. 200              2195 Railroad Ave.                         1650 South Casino Drive
Las Vegas, NV 89117                        Pittsburg, CA 94565                        Laughlin, NV 89029



Robert E. Smith                            RoofDeck, LLC                              SalesForce.com Inc.
2003 Cedarcrest Ct.                        dba Marquee Kitchen                        Attn: Managing Agent
P.O. Box 371789                            Attn: Managing Agent                       The Landmark at One Market, #300
Las Vegas, NV 89134                        3700 Las Vegas Blvd. South                 San Francisco, CA 94105
                                           Las Vegas, NV 89109


Southern Hills Hospital & Medical Center   The Primadonna Company, LLC                TopGolf USA Las Vegas, LLC
Attn: Director of Environmental Services   Primm Valley/Bufffalo Bills/Whiskey Pete   Attn: Managing Agent
9300 W. Sunset Road                        Attn: Managing Agent                       4627 Koval Lane
Las Vegas, NV 89148                        31900 Las Vegas Blvd. South                Las Vegas, NV 89109
                                           Jean, NV 89019


TPM Services LLC                           TPM Services, LLC                          Tracy Trelz
c/o Marc R. Bawden, Resident Agent         c/o Rishawn Newman                         c/o Lucas A. Grower, Esq.
8309 Mount Logan Ct.                       3223 Via Seranova                          515 S. 3rd St., Suite B
Las Vegas, NV 89131                        Henderson, NV 89044                        Las Vegas, NV 89101



United Healthcare Insurance Co.            West American Insurance Company            United Cleaners Supply, Inc.
Attn: Bankruptcy Dept/Managing Agent       Attn: Managing Agent                       Attn: Managing Agent
P.O. Box 740800                            175 Berkley St.                            P.O. Box 90521
Atlanta, GA 30374-0800                     Boston, MA 02116                           Sherman Oaks CA 91403
